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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

                                         CASE NO.

JOHN SAMUEL BROOKS,
individually and
on behalf of all others similarly situated,             CLASS ACTION

       Plaintiff,                                       JURY TRIAL DEMANDED

v.

PARKING REVENUE RECOVERY
SERVICES, INC.,

      Defendant.
_______________________________________/

                             CLASS ACTION COMPLAINT

       Plaintiff John Samuel Brooks brings this class action against Defendant Parking

Revenue Recovery Services, Inc., and alleges as follows upon personal knowledge as to

Plaintiff and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

                               NATURE OF THE ACTION

       1.     This is a putative class action for violations of the Driver’s Privacy

Protection Act, 18 U.S.C. § 2721-2725 (“DPPA”).

       2.       In violation of the DPPA, Defendant knowingly and without consent

obtained Plaintiff’s and the Class Members’ personal information, including their names

and home addresses, from non-public motor vehicle state records, and used it to send

parking tickets to Plaintiff’s and the Class Members’ homes.


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      3.     Defendant’s DPPA violations caused Plaintiff and the Class Members harm,

including violations of their statutory privacy rights, harassment, annoyance, nuisance,

invasion of their privacy, and intrusion upon seclusion in a space that is personal and

private to Plaintiff and the Class Members.

      4.     Plaintiff seeks, on behalf of himself and each member of the proposed

Class, statutory damages under the DPPA in the amount of $2,500, reasonable

attorney’s fees and other litigation costs reasonably incurred, and such other equitable

relief as the court determines appropriate, including injunctive relief in the form of a

prohibition on Defendants obtaining, using and disclosing personal information

obtained from any department of motor vehicles (“DMV”) to send surprise tickets

through the mail to consumers’ residences.

                                       PARTIES

      5.     Plaintiff is, and at all times relevant hereto was, a citizen and resident of

Duval County, Florida.

      6.     Defendant is, and at all times relevant hereto was foreign corporation with

its headquarters located in Centennial, Colorado. Defendant may be served through its

registered agent, Incorp Services, Inc., at 3458 Lakeshore Drive, Tallahassee, FL 32312.

                           JURISDICTION AND VENUE

      7.     This Court has federal question subject matter jurisdiction over Plaintiff’s

DPPA claims pursuant to 28 U.S.C. § 1331.




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       8.     Defendant is subject to personal jurisdiction in Florida because it transacts

business throughout the state of Florida, and its violations alleged herein occurred in part

within and/or were directed at Florida.

       9.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c)

because Defendant is deemed to reside in any judicial district in which it is subject to

personal jurisdiction, and because a substantial part of the events or omissions giving rise

to the claim occurred in this District.

                                          THE DPPA

       10.    DPPA was enacted in 1994 to protect the privacy of licensed drivers, and

to limit misuse of personal information contained within DMV records. The DPPA

imposes strict rules for collecting personal information contained within DMV

records, and imposes liability for the collection and/or use of such personal

information. See generally 18 U.S. Code § 2721, et al.

       11.    Specifically, the DPPA provides: “[a] person who knowingly obtains,

discloses or uses personal information, from a motor vehicle record, for a purpose not

permitted under this chapter shall be liable to the individual to whom the information

pertains.”

       12.    “Personal information” under the DPPA “means information that

identifies an individual, including an individual’s photograph, social security number,

driver identification number, name, address (but not the 5-digit zip code), telephone

number, and medical or disability information, but does not include information on

vehicular accidents, driving violations, and driver’s status.” 18 U.S.C. § 2725(3).

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       13.    “Motor vehicle record” is defined to include “any record that pertains to

a motor vehicle operator’s permit, motor vehicle title, motor vehicle registration, or

identification card issued by a department of motor vehicles[.]” 18 U.S.C § 2725(1).

       14.    The fourteen (14) permissible uses of personal information under the DPPA

are as follows:

              (1) For use by any government agency, including any court
              or law enforcement agency, in carrying out its functions, or
              any private person or entity acting on behalf of a Federal,
              State, or local agency in carrying out its functions.

              (2) For use in connection with matters of motor vehicle or
              driver safety and theft; motor vehicle emissions; motor
              vehicle product alterations, recalls, or advisories;
              performance monitoring of motor vehicles, motor vehicle
              parts and dealers; motor vehicle market research activities,
              including survey research; and removal of non-owner
              records from the original owner records of motor vehicle
              manufacturers.

              (3) For use in the normal course of business by a legitimate
              business or its agents, employees, or contractors, but only-

                    (A) to verify the accuracy of personal information
                       submitted by the individual to the business or its
                       agents, employees, or contractors; and

                    (B) if such information as so submitted is not correct
                    or is no longer correct, to obtain the correct
                    information, but only for the purposes of preventing
                    fraud by, pursuing legal remedies against, or
                    recovering on a debt or security interest against, the
                    individual.

              (4) For use in connection with any civil, criminal,
              administrative, or arbitral proceeding in any Federal, State,
              or local court or agency or before any self-regulatory body,
              including the service of process, investigation in
              anticipation of litigation, and the execution or enforcement

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      of judgments and orders, or pursuant to an order of a
      Federal, State, or local court.

      (5) For use in research activities, and for use in producing
      statistical reports, so long as the personal information is not
      published, redisclosed, or used to contact individuals.

      (6) For use by any insurer or insurance support
      organization, or by a self-insured entity, or its agents,
      employees, or contractors, in connection with claims
      investigation activities, antifraud activities, rating or
      underwriting.

      (7) For use in providing notice to the owners of towed or
      impounded vehicles.

      (8) For use by any licensed private investigative agency or
      licensed security service for any purpose permitted under
      this subsection.

      (9) For use by an employer or its agent or insurer to obtain
      or verify information relating to a holder of a commercial
      driver's license that is required under chapter 313 of title 49.

      (10) For use in connection with the operation of private toll
      transportation facilities.

      (11) For any other use in response to requests for individual
      motor vehicle records if the State has obtained the express
      consent of the person to whom such personal information
      pertains.

      (12) For bulk distribution for surveys, marketing or
      solicitations if the State has obtained the express consent of
      the person to whom such personal information pertains.

      (13) For use by any requester, if the requester demonstrates
      it has obtained the written consent of the individual to
      whom the information pertains.

      (14) For any other use specifically authorized under the law
      of the State that holds the record, if such use is related to the
      operation of a motor vehicle or public safety.

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                                            FACTS

          15.   Defendant manages private parking lots throughout Florida and the United

States.

          16.   Defendant installs license plate recognition cameras within the parking lots

it manages. These cameras capture the license plates of vehicles entering and leaving the

private parking lots Defendant manages.

          17.   When Defendant determines that a parking charge is due, the vehicle

owner’s data is requested from the DMV and a parking charge is sent to the individual’s

home.

          18.   On or about May 5, 2022, Plaintiff parked his vehicle at a parking lot

managed by Defendant, located at 125 North Broad Street, Jacksonville, Florida.

          19.   Approximately two weeks after, Defendant sent a letter asserting a purported

“parking notice” to Plaintiff’s residence demanding payment of $80.00.

          20.   Defendant’s letter included photos of Plaintiff’s vehicle’s license plate taken

by Defendant’s license plate recognition cameras.

          21.   Plaintiff never provided his name or home address to Defendant.

          22.   Plaintiff never authorized Defendant to obtain his personal information from

any motor vehicle record.

          23.   As it admits on its website, Defendant knowingly obtained and used

Plaintiff’s personal information from a record maintained by the DMV by cross

referencing Plaintiff’s license plate with vehicle registration data maintained by the

DMV. This occurred without Plaintiff’s authorization or consent.

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       24.    Defendant’s use of Plaintiff’s personal information to transmit a “parking

notice” was not a permitted use under the DPPA.

       25.    Upon information and belief, Defendant regularly engages in the practice of

utilizing license plate recognition cameras to capture vehicle license plates, and then uses

those license plate numbers to acquire, without authorization or consent, the personal

information of individuals that park their vehicles in lots managed by Defendant from

DMVs around the country.

       26.    After acquiring personal information from the DMVs, Defendant

impermissibly utilizes the information to send parking notices to consumers’ homes.

       27.    Defendant’s conduct and DPPA violation caused Plaintiff and the Class

Members harm, including violations of their statutory privacy rights, harassment,

annoyance, nuisance, invasion of their privacy, and intrusion upon seclusion in a space

that is personal and private to Plaintiff and the Class Members.

                                 CLASS ALLEGATIONS

       PROPOSED CLASS

       28.    Plaintiff brings this lawsuit as a class action on behalf of Plaintiff individually

and on behalf of all other similarly situated persons as a class action pursuant to Federal

Rule of Civil Procedure 23. The Class that Plaintiff seeks to represent is defined as:


              All individuals residing in the United States whose personal
              information Defendant obtained, disclosed, and/or used
              from a motor vehicle record during the four years prior to
              the filing of this lawsuit through the date of class
              certification.


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      29.      Defendant and its employees or agents are excluded from the Class.

      NUMEROSITY

      30.      Plaintiff is informed and believes that there are at least 50 class members

given Defendant’s regular use of DMV records to locate consumers without their consent

and not for a purpose enumerated under the DPPA.

      31.      Identification of the Class members is a matter capable of ministerial

determination from Defendant’s records.

      COMMON QUESTIONS OF LAW AND FACT

      32.      There are numerous questions of law and fact common to the Class which

predominate over any questions affecting only individual members of the Class. Among

the questions of law and fact common to the Class are:

            (a) Whether Defendant obtained, disclosed, and/or used Plaintiff’s and the

               Class Members’ personal information from a motor vehicle record;

            (b) Whether Defendant’s use Plaintiff’s and the Class Members’ personal

               information is permitted under the DPPA;

            (c) Whether Defendant knowingly obtained, disclosed, and/or used

               Plaintiff’s and the Class Members’ personal information from a motor

               vehicle record; and

            (d) Whether Defendant is liable for damages, and the amount of such damages.

      33.      The common questions in this case are capable of having common answers,

and Plaintiff and the Class members will have identical claims capable of being efficiently

adjudicated and administered in this case.

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       TYPICALITY

       34.      Plaintiff’s claims are typical of the claims of the Class members, as they are

all based on the same factual and legal theories.

       PROTECTING THE INTERESTS OF THE CLASS MEMBERS

       35.      Plaintiff is a representative who will fully and adequately assert and protect

the interests of the Class and has retained competent counsel. Accordingly, Plaintiff is an

adequate representative and will fairly and adequately protect the interests of the Class.

       SUPERIORITY

       36.      A class action is superior to all other available methods for the fair and

efficient adjudication of this lawsuit because individual litigation of the claims of all

members of the Class is economically unfeasible and procedurally impracticable. The

likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system

would be unduly burdened by individual litigation of such cases.

       37.      The prosecution of separate actions by members of the Class would create a

risk of establishing inconsistent rulings and/or incompatible standards of conduct for

Defendant. For example, one court might enjoin Defendant from performing the

challenged acts, whereas another may not. Additionally, individual actions may be

dispositive of the interests of the Classes, although certain class members are not parties to

such actions.




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                                         COUNT I
                           Violation of 18 U.S.C. § 2721, et seq.
                           (On Behalf of Plaintiff and the Class)

       38.    Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1

through 37 as if fully set forth herein.

       39.    Under the DPPA, “[a] person who knowingly obtains, discloses or uses

personal information, from a motor vehicle record, for a purpose not permitted under

this chapter shall be liable to the individual to whom the information pertains.”

       40.    “Personal information” under the DPPA “means information that

identifies an individual, including an individual’s photograph, social security number,

driver identification number, name, address (but not the 5-digit zip code), telephone

number, and medical or disability information, but does not include information on

vehicular accidents, driving violations, and driver’s status.” 18 U.S.C. § 2725(3).

       41.    “Motor vehicle record” is defined to include “any record that pertains to

a motor vehicle operator’s permit, motor vehicle title, motor vehicle registration, or

identification card issued by a department of motor vehicles[.]” 18 U.S.C § 2725(1).

       42.    Plaintiffs and Class Members are individuals within the meaning of 18

U.S.C. §2725(2).

       43.    Plaintiff’s and the Class Members’ names and addresses are personal

information under the DPPA.

       44.    Defendant knowingly obtained, disclosed, and/or used Plaintiff’s and the

Class Members’ personal information from motor vehicle records without consent or

authorization.

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       45.    Defendant violated the DPPA by knowingly obtaining, disclosing,

and/or using Plaintiff’s and the Class Members’ personal information from motor

vehicle records for a purpose not permitted under the DPPA, i.e., to cross-reference

their license plates and send parking notices to Plaintiff’s and the Class Members’

homes.

       46.    Defendant’s DPPA violations and notices sent by Defendant caused

Plaintiff and the Class Members harm, including violations of their statutory privacy

rights, harassment, annoyance, nuisance, invasion of their privacy, and intrusion upon

seclusion in a space that is personal and private to Plaintiff and the Class Members.

       47.    Pursuant to the DPPA, Plaintiff and the Class Members seek: (i)

declaratory relief; (ii) injunctive and equitable relief as is necessary to protect the

interests of Plaintiff and the Class by requiring Defendant to comply with DPPA’s

requirements; (iii) statutory damages of $2,500 for each violation of the DPPA

pursuant to 18 U.S.C. § 2724(a) and (iv) reasonable attorneys’ fees and costs and other

litigation expenses.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
following relief:
          a) An order certifying this case as a class action on behalf of the Class as defined

              above, and appointing Plaintiff as the representative of the Class and

              Plaintiff’s counsel as Class Counsel;




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        b) An award of statutory damages of $2,500 of each violation of the DPPA for

            Plaintiff and each member of the Class as permitted under the DPPA;

        c) An order declaring that Defendant’s actions, as set out above, violate the

            DPPA;

        d) An injunction requiring Defendant to cease all future violations of the

            DPPA;

        e) Attorney’s fees and costs incurred in the prosecution of this action; and

        f) Such further and other relief as the Court deems necessary.

                                  JURY DEMAND

     Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

DATED: August 13, 2024

                                            Respectfully submitted,

                                            HIRALDO P.A.

                                            /s/ Manuel S. Hiraldo*
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